
MANN, Judge.
Horsted seeks appellate review of the sufficiency of evidence underlying his conviction. He claims that his appointed counsel failed to file a motion for a new trial and that he was deprived of due process because insufficiency is not arguable on appeal unless the motion has been timely made for a new trial. State v. Wright, Fla.1969, 224 So.2d 300. But he does not allege that the evidence is even arguably insufficient.
We are confronted with the problem of extending or confining the doctrine of Baggett v. Wainwright, Fla.1969, 229 So.2d 239. We do not think Baggett requires us to grant relief here.
Petition denied.
HOBSON, C. J., and McNULTY, J., concur.
